 

Case 1:19-cv-09538-GBD Document 14 Filed 11/09/20 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CARLOS HENRIQUEZ, on behalf of himself and

all others similarly situated,

Plaintiff,
-against-

 

2617 WORLD HOUSEWARES & HARDWARE, : 19 Civ. 9538 (GBD)
INC.; MUSTAFA ALSAIDI,

Defendants.

GEORGE B. DANIELS, District Judge:

The November 19, 2020 initial conference is adjourned to February 18, 2021 at 9:30 a.m.

Dated: November 5, 2020
New York, New York

SO ORDERED.

Guy, 68. Doivl,

 

gepR ore: DANIELS
TEDSTATES DISTRICT JUDGE
